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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                 Eastern Division

Stephanie Williams, et al.
                                      Plaintiff,
v.                                                        Case No.: 1:24−cv−12763
                                                          Honorable Steven C. Seeger
Mielle Organics LLC, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 5, 2025:


       MINUTE entry before the Honorable Steven C. Seeger: The motion for an
extension of time (Dckt. No. [18]) is hereby granted in large part. The Court stays the
deadline to file the joint initial status report until two weeks after the Court rules on the
pending motion to dismiss. Mailed notice(jjr, )




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